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                            A T T O R N E Y                 A T       L A W

Via ECF Filing Only
                                        September 30, 2019

The Honorable Lorna G. Schofield
United States District Judge
Southern District of New York
500 Pearl Street
Daniel Patrick Moynihan U.S. Courthouse
New York, New York 10007

RE:       United States v. Ross William Ulbricht, No. 1:19-cv-7512 (LGS) (S.D. NY)
          Consent Letter Motion to Unseal Certain Filings

Dear Judge Schofield:

Ross William Ulbricht (“Ulbricht”), through his counsel Zachary L. Newland, submits this
consent letter motion to the Court seeking the complete unsealing of certain filings in Ulbricht’s
underlying criminal prosecution. The Government has indicated that they do not oppose
Ulbricht’s request.

Ulbricht was previously convicted and sentenced following a jury trial in the case styled United
States v. Ross Ulbricht, in cause number 1:14-cr-68-LGS in this District. The Court previously
denied requests by the Government to unseal certain materials following Ulbricht’s conviction
for purposes of appeal. (See Order, Dkt. 283).

Ulbricht now requests that the Court unseal its December 22, 2014, sealed order in full in order
to allow the parties to use this information for purposes of Ulbricht’s § 2255 proceedings. The
Government is not opposed to this request.

Additionally, Ulbricht seeks an order from the Court making publicly available two letters from
prior counsel which were earlier submitted on an ex parte or under seal basis. Ulbricht seeks to
unseal letters from his prior attorneys submitted to the Court on December 9, 2014 and
December 18, 2014 and were not placed on the public PACER docket. These letters referenced
the same materials as the Court’s December 22, 2014, sealed order.

The Government is not opposed to unsealing these letters from Ulbricht’s prior counsel. These
letters need to be made publicly available for purposes of Ulbricht’s § 2255 proceedings.

Ulbricht asks that the Court make these three filings publicly available to all parties to ensure
that justice is served. Ulbricht asks that the Court continue to maintain all other filings under seal
or off of the publicly available docket at this time.
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        The Court’s consideration of this request is greatly appreciated.

                                                              Respectfully submitted,


                                                              /s/ Zachary L. Newland
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                                                              Attorney for Ross William Ulbricht




        Encl. (0x)
        ZLN/
        cc:        All counsel of record, via ECF notification
                   Mr. Ross William Ulbricht, via U.S. Mail only
                   File
